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                                                                             April 7, 2023
VIA ECF
Honorable Denise L. Cote
United States District Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

                       Re:     Damien Guarniere v. City of New York, et al.
                               Docket No. 21-cv-1739 (DLC)

Dear Judge Cote,
        The Plaintiff, Mr. Damien Guarniere, by the undersigned counsel, respectfully submits this
letter motion, pursuant to Rules 59(e) and 60(b)(1) of the Federal Rules of Civil Procedure, for
reconsideration of the Memorandum Opinion and Order (Doc. 111) granting defendants’ motions
to dismiss pursuant to Rule 41(b), together with such other or further relief as the Court may deem
just and proper.

        It is respectfully submitted that the Court should reconsider and vacate the Order
dismissing this action for failure to prosecute for the following reasons. The untimely submission
of Plaintiff’s opposition to Defendant City’s motion to dismiss under Rule 41(b) resulted from an
apparent filing error that prevented Plaintiff’s response and supporting documents from being
electronically filed yesterday evening, as intended and believed.

        The filing mishap was further compounded by my absence from the office this morning
due to child-care obligations. As such, I did not become aware of the electronic filing failure until
reviewing the Memorandum Opinion and Order by Your Honor, at which time I refiled Plaintiff’s
opposition (Doc. 112) and supporting documents, including Plaintiff’s Proposed Exhibit List (Doc.
112-1), Proposed Request to Charge (Doc. 112-2) and Proposed Verdict Sheet (Doc. 112-3).

        Plaintiff apologizes to the Court and counsel for failing to comply with the Order of the
Court to submit his response by April 6, 2023, as such was completely inadvertent, unintentional
and unbeknownst to the undersigned until this afternoon.

        Plaintiff now respectfully moves for reconsideration of the Order dismissing this case for
failure to prosecute, as the Order was predicated primarily upon Plaintiff’s failure to oppose
Defendant City’s motion to dismiss under Rule 41(b), dated April 3, 2023 (Doc. 93). Upon
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advising defendants of Plaintiff’s intention to file the instant motion for relief, both defendants
expressed their opposition without explanation.

        Wherefore, Plaintiff respectfully moves this Court, pursuant to Rules 59(e) and 60(b)(1),
to reconsider, alter, amend or vacate the Order of the Court, dated April 7, 2023, for dismissal of
the instant action for failure to prosecute, pursuant to Rule 41(b), and to reopen the case, together
with such other or further relief as the Court may deem just and proper.

       Thank you for your consideration herein.


                                                      Respectfully submitted,


                                                      /s/ Samuel C. DePaola
                                                      Samuel C. DePaola, Esq.
                                                      Attorney for Plaintiff
                                                      sdepaola@simdepaola.com
